         Case 2:19-cv-00514-JDW Document 176 Filed 10/21/20 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF PENNSYLVANIA

 MIDWEST ATHLETICS AND SPORTS
 ALLIANCE LLC,                                     Case No. 2:19-cv-00514-JDW

                Plaintiff,

        v.

 RICOH USA, INC.,

              Defendant.

                                              ORDER

       AND NOW, this 21st day of October, 2020, for the reasons stated in the accompanying

Memorandum, it is ORDERED that the Court construes the following claim terms of the following

patents: (1) U.S. Patent No. 6,203,005 (‘3005 Patent); (2) U.S. Patent No. 6,411,314 (‘314 Patent);

(3) U.S. Patent No. 6,509,974 (‘974 Patent); (4) U.S. Patent No. 6,554,269 (‘269 Patent); (5) U.S.

Patent No. 6,718,285 (‘285 Patent); (7) U.S. Patent No. 7,502,582 (‘582 Patent); (7) U.S. Patent No.

7,720,425 (‘425 Patent); (8) U.S. Patent No. 8,019,255 (‘255 Patent); and (9) U.S. Patent No.

6,799,005 (‘9005 Patent).

                  Claim Term                                    Court’s Construction

                                Contested Terms For Construction


 “a first guide plate pivotable at least       Claim term is indefinite
 substantially about said axis” (‘3005 Patent,
 Claim 2)
 “document ticket object” (‘314 Patent, Claims No construction necessary; plain and ordinary
 1, 51)                                        meaning
       Case 2:19-cv-00514-JDW Document 176 Filed 10/21/20 Page 2 of 5




                 Claim Term                                    Court’s Construction

“a first user input device for selectively        “A hardware device for selectively associating
associating at least two of said first, second    at least two of said first, second, and third
and third visual representations” (‘314           visual representations
Patent, Claim 1)
“wherein association of said first, second,       No construction necessary; plain and ordinary
and third visual representations results in       meaning
association of said respective objects” (‘314
Patent, Claim 1)
“means for receiving content and formatting       Subject to 35 U.S.C. § 112, ¶ 6
instructions for formatting said content, said
formatting instructions comprising                Function: “receiving content and instructions
instruction means for sub-dividing said           for the content, including instructions for sub-
content into one or more pages” (‘314             dividing the content into one-or-more pages”
Patent, Claim 62)
                                                  Structure: “workflow software with a user
                                                  interface”
“means for receiving output instructions for      Subject to 35 U.S.C. § 112, ¶ 6
controlling output of said content to an
output device” (‘314 Patent, Claim 62)            Function: “receiving output instructions for
                                                  controlling output of the content to an output
                                                  device”

                                                  Structure: “workflow software with a user
                                                  interface”
“means for representing said content and          Subject to 35 U.S.C. § 112, ¶ 6
formatting instructions on a display as a first
manipulatable object” (‘314 Patent, Claim 62)     Function: “representing the content and
                                                  formatting instructions on a display as a first
                                                  manipulatable object”

                                                  Structure: “workflow software with a user
                                                  interface”
“means for representing said output               Subject to 35 U.S.C. § 112, ¶ 6
instructions on said display as a second
manipulatable object” (‘314 Patent, Claim 62)     Function: “representing the output
                                                  instructions on the display as a second
                                                  manipulatable object”

                                                  Structure: “workflow software with a user
                                                  interface”



                                                  2
       Case 2:19-cv-00514-JDW Document 176 Filed 10/21/20 Page 3 of 5




                 Claim Term                                  Court’s Construction

“means for selectively associating said first   Subject to 35 U.S.C. § 112, ¶ 6
manipulatable object with said second
manipulatable object to associate said          Function: “selectively associating the first
output instructions with said content and       manipulatable object with the second
formatting instructions” (‘314 Patent, Claim    manipulatable object to associate the output
62)                                             instructions with the content and formatting
                                                instructions”

                                                Structure: “workflow software with a user
                                                interface”
“means for representing said association on     Subject to 35 U.S.C. § 112, ¶ 6
said display as a third manipulatable object”
(‘314 Patent, Claim 62)                         Function: “representing the association on the
                                                display as a third manipulatable object”

                                                Structure: “workflow software with a user
                                                interface”
“exception page” (‘974 Patent, Claims 1, 2)     “page of a document that is separate from
                                                the main portion of a document to be
                                                printed”
“input device” (‘974 Patent, Claim 2)           “a hardware device that sends data to the
                                                computer”

“the plurality of documents are merged to       No construction necessary; plain and ordinary
create the single document, where the           meaning
plurality of documents comprise a main
portion and at least one exception page,
where the printing of the main portion is
delayed at a production device associated
with the single document, while the at least
one exception page is printed at an alternate
output device where the production device
prints the main portion and where the
production device collates the at least one
exception page with the main portion” (‘974
Patent, Claim 2)
“first position” and “second position” (‘269    Claim terms are indefinite
Patent, Claim 1)

“operator replaceable component (ORC)           “devices within the printer that a typical
devices” (‘285 Patent, Claims 1, 14)            operator of the printer can replace and that
                                                wear with use”


                                                3
        Case 2:19-cv-00514-JDW Document 176 Filed 10/21/20 Page 4 of 5




                  Claim Term                                    Court’s Construction

“determining a remaining life span for the         “determining a remaining life span for the
operator replaceable component device              operator replaceable component device
having the shortest expected life span” (‘285      having the shortest remaining life”
Patent, Claim 14)
“a use mechanism coupled to each said              Governed by 35 U.S.C. § 112, ¶ 6:
computations element and said ORC
devices, said use mechanism tracking use of        Function: “tracking use of at least one of said
at least one of said ORC devices using a           ORC devices using a predetermined
predetermined parameter” (‘285 Patent,             parameter”
Claim 1)
                                                   Structure: “A controller, with a database
                                                   management system, coupled to each
                                                   computational element and ORC device and
                                                   that is programmed to (1) receive data for
                                                   each ORC device detailing the ORC device’s
                                                   usage and (2) maintain an object file for each
                                                   ORC device indicating the remaining life of
                                                   the ORC device based on customer usage.”
“a comparison mechanism that compares              No construction necessary; plain and ordinary
use of said ORC devices to said expected life      meaning
span … where said expected life span for a
single of said ORC devices is the shortest
expected life span” (‘285 Patent, Claim 1)
“inverse mask” (‘582 Patent, Claim 1)              “coat of clear toner to create a balanced
                                                   image where the amount of clear toner
                                                   applied depends on the receiver and the
                                                   image on which it is applied”
“an alignment device to align the two or           Governed by 35 U.S.C. § 112, ¶ 6:
more printing engines in the cross track
direction (z direction) relative to the receiver   Function: “aligning the two or more printing
path cross track reference based on the            engines in the cross track direction (z
measurement” (‘255 Patent, Claim 1)                direction) relative to the receiver path cross
                                                   track     reference      based      on     the
                                                   measurement”

                                                   Structure: “Alignment pins and holes to
                                                   horizontally align the components and
                                                   additional spacers to allow the modules to be
                                                   aligned vertically”




                                                   4
       Case 2:19-cv-00514-JDW Document 176 Filed 10/21/20 Page 5 of 5




                 Claim Term                                Court’s Construction

                                    Agreed Constructions


“improved steps” (‘269 Patent, Claim 1)       The “improved steps” are (a) “moving the
                                              sheet at least partially from the sheet supply
                                              stack” and (b) “replacing the sheet on the
                                              sheet supply stack”
“at a time when the known steps are not in    “during the time period when the sheet is not
process” (‘269 Patent, Claim 1)               in, or being moved to, the first and/or second
                                              positions”
“pre-selecting” (‘9005 Patent, Claim 1)       “selecting prior to printing the print job”




                                                 BY THE COURT:

                                                 /s/ Joshua D. Wolson
                                                 HON. JOSHUA D. WOLSON
                                                 United States District Judge




                                             5
